Case 5:20-cv-05193-TLB Document 180            Filed 09/07/22 Page 1 of 2 PageID #: 3294




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

ARKANSAS UNITED
and L. MIREYA REITH                                                            PLAINTIFFS

V.                               CASE NO. 5:20-CV-5193

JOHN THURSTON, in his official capacity
as the Secretary of State of Arkansas;
SHARON BROOKS, BILENDA HARRIS-RITTER,
WILLIAM LUTHER, CHARLES ROBERTS,
JAMES SHARP, and J. HARMON SMITH,
in their official capacities as members
of the Arkansas State Board of Election Commissioners;
RENEE OELSCHLAEGER, BILL ACKERMAN,
MAX DEITCHLER, and JENNIFER PRICE,
in their official capacities as members
of the Washington County Election Commission;
RUSSELL ANZALONE, ROBBYN TUMEY,
and HARLAN STEE, in their official capacities as members
of the Benton County Election Commission;
DAVID DAMRON, LUIS ANDRADE, and LEE WEBB,
in their official capacities as members of the Sebastian
County Election Commission; and MEGHAN HASSLER, in
her official capacity as Election Coordinator for the
Sebastian County Election Commission                                        DEFENDANTS

                                 AMENDED1 JUDGMENT

        For the reasons set forth in the Court’s Memorandum Opinion and Order filed

today, IT IS HEREBY ORDERED AND ADJUDGED AS FOLLOWS:

     1. The six-voter limit at § 7-5-310(b)(4)(B) of the Arkansas Code is DECLARED to

        be preempted by § 208 of the VRA. Sections 7-1-103(a)(19)(C) and 7-1-103(b)(1)

        of the Arkansas Code are also DECLARED to be preempted by § 208 to the extent

        they are used to enforce criminal penalties for violations of § 7-5-310(b)(4)(B).



1   The Court has amended this Judgment for the reasons stated in the Court’s order
issued on September 7, 2022, granting the State Defendants’ Motion to Clarify.


                                              1
Case 5:20-cv-05193-TLB Document 180            Filed 09/07/22 Page 2 of 2 PageID #: 3295




   2. The Court hereby PERMANENTLY ENJOINS all Defendants, their employees,

      agents, and successors in office, and all persons acting in concert with them, from

      enforcing § 7-5-310(b)(4)(B), or otherwise engaging in any practice that limits the

      right secured by § 208 of the Voting Rights Act based on the number of voters any

      individual has assisted, and from enforcing §§ 7-1-103(a)(19)(C) and 7-1-103(b)(1)

      to the extent they are used to enforce criminal penalties for violations of § 7-5-

      310(b)(4)(B).

   3. The State and County Defendants are ORDERED to inform their staff to cease

      enforcement of § 7-5-310(b)(4)(B) in advance of the 2022 General Election, and

      the members of the State Board of Election Commissioners are FURTHER

      ORDERED to send a memorandum to all county election boards in Arkansas

      setting forth the Court’s rulings, including that the six-voter limit has been declared

      invalid under federal law, no later than September 16, 2022. Any Defendant that

      intends to use the Assisted Voter Card or equivalent document to track voter

      assistors in future elections is ORDERED to remove from that document any

      reference to the six-voter limit at § 7-5-310(b)(4)(B). In all future elections after the

      2022 General Election, Defendants are ORDERED to update all trainings,

      manuals, websites, and any materials given to voters or voter assistors to remove

      any reference to the six-voter limit at § 7-5-310(b)(4)(B).Plaintiffs have 14 days

      from today to file a motion for attorneys’ fees.

      IT IS SO ORDERED on this 7th day of September, 2022.


                                                  ______________________________
                                                  TIMOTHY L. BROOKS
                                                  UNITED STATES DISTRICT JUDGE


                                              2
